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             EXHIBIT I
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                                                               Diana A. Aguilar
                                                               U.S. Department of Justice, Antitrust Division
                                                               San Francisco Office
                                                               450 Golden Gate Ave., Suite 10-0101
                                                               San Francisco, CA 94102
                                                               diana.aguilar@usdoj.gov



                                                                  March 13, 2025
BY EMAIL

Christopher A. Yeager, Esq.
Williams & Connolly LLP
680 Maine Avenue SW
Washington, DC 20024


Dear Mr. Yeager,

Thank you for confirming that a subset of datacards in the production are the final version of the
individual datacard. Google’s response, however, is insufficient and does not comply with the
Court’s instruction. The Court clearly explained that what was being requested—and what the
Court ultimately instructed Google to do—was “either confirmation or the production of the
actual final data cards.” Tr. at 18:23-24 (Mar. 10, 2025). Counsel for Google expressly conveyed
to the Court that he understood that this request would require Google to pull additional
datacards including those that were created after Google’s initial production and reflect the data
currently used to power Google’s GenAI products. See Tr.19:7-9 (“[S]ome of this may be a
timing issue, of course, because discovery cut off 1 somewhere in October, November, and the
witnesses were being deposed in February. So we can confirm either those are the final data
cards or pull them for the same models that we had previously pulled them for.”). Google has not
done this; rather, Google has simply identified some set of already produced documents as the
final version of that specific datacard. Google has not endeavored to collect or confirm that the
model and data cards reflect the current set of training data used by the AI models that power AI
Overviews, AI Mode, or Gemini chatbot (which for avoidance of doubt includes the Gemini
App).

Google must produce a comprehensive set of official datacards for the AI models that power AI
Overviews, AI Mode, and Gemini chatbot (which, again, should include the Gemini App)—or


1
    Google has not proposed a discovery cut-off in the remedies phase of this litigation.
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confirm that the datacards produced to Plaintiffs reflect the current set of all training data used by
the AI models that presently power these GenAI products.

As a prominent example of Google’s deficient response, Google did not confirm or pull an
“actual final datacard” for the Gemini V3 base model, which was discussed during the
depositions of Elizabeth Reid and Phiroze Parakh. Further Ms. Reid testified that AI Overviews
is, in part, using the V3 base model. Plaintiffs note that the draft datacard for the V3 model was
produced by Google at GOOG-DOJ-34493982 and is dated June 27, 2024.

Please confirm by 5pm ET tomorrow whether Google will comply with the Court’s instruction
and by what day and time it will do so.

Lastly, we are still reviewing the documents identified in Google’s Appendix A and will follow
up with hyperlink requests, as needed. We note that we have already issued prior hyperlink
requests for some of these documents, and we expect Google to already be working on producing
those documents.


                                                      Sincerely,

                                                      /s/ Diana A. Aguilar




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